    Case 3:13-cv-01045-SI   Document 136-2   Filed 07/22/14   Page 1 of 59




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                            Exhibit 11
            Case 3:13-cv-01045-SI   Document 136-2   Filed 07/22/14   Page 2 of 59

                   简体中文      English   Français   Русский   Español   ‫ﺍاﻟﻌﺭرﺑﻳﯾﺔ‬



             WHOIS BETA


     extremeporntube.net                           Lookup


Provide Feedback



   Showing results for: EXTREMEPORNTUBE.NET
   Original Query: extremeporntube.net




     Contact Information
     Registrant Contact
     Name: Domain Name Administrator
     Organization: Century Ahead
     Mailing Address: c/o GoDaddy Redemption Services, Scottsdale AZ 85260 United
     States
     Phone: +1.4805058877
     Ext:
     Fax:
     Fax Ext:
     Email:

     Admin Contact
     Name:
     Organization: Go Daddy Redemption Services
     Mailing Address: 14455 N. Hayden Road, Suite 219, Scottsdale AZ 85260 United
     States
     Phone: +1.4805058877
     Ext:
     Fax:
     Fax Ext:
     Email:support@godaddy.com
                                                                                     Ex. 11 / P. 02
       Case 3:13-cv-01045-SI   Document 136-2   Filed 07/22/14   Page 3 of 59

Tech Contact
Name:
Organization: Go Daddy Redemption Services
Mailing Address: 14455 N. Hayden Road, Suite 219, Scottsdale AZ 85260 United
States
Phone: +1.4805058877
Ext:
Fax:
Fax Ext:
Email:support@godaddy.com




Registrar
WHOIS Server: whois.godaddy.com
URL: http://www.godaddy.com
Registrar: GoDaddy.com, LLC
IANA ID: 146
Abuse Contact Email:abuse@godaddy.com
Abuse Contact Phone: +1.480-624-2505




Status
Domain Status:clientTransferProhibited
Domain Status:clientUpdateProhibited
Domain Status:clientRenewProhibited
Domain Status:clientDeleteProhibited




Important Dates
Updated Date: 2013-06-08
Created Date:
Registration Expiration Date: 2014-06-08



                                                                                Ex. 11 / P. 03
     Case 3:13-cv-01045-SI   Document 136-2   Filed 07/22/14   Page 4 of 59



Name Servers
NS37.DOMAINCONTROL.COM
NS38.DOMAINCONTROL.COM




Raw WHOIS Record

Domain Name: EXTREMEPORNTUBE.NET
Registry Domain ID: 1807064081_DOMAIN_NET-VRSN
Registrar WHOIS Server: whois.godaddy.com
Registrar URL: http://www.godaddy.com
Update Date: 2013-06-08 16:52:07
Creation Date: 2013-06-08 12:07:33
Registrar Registration Expiration Date: 2014-06-08 12:07:33
Registrar: GoDaddy.com, LLC
Registrar IANA ID: 146
Registrar Abuse Contact Email: abuse@godaddy.com
Registrar Abuse Contact Phone: +1.480-624-2505
Domain Status: clientTransferProhibited
Domain Status: clientUpdateProhibited
Domain Status: clientRenewProhibited
Domain Status: clientDeleteProhibited
Registry Registrant ID:
Registrant Name: Domain Name Administrator
Registrant Organization: Century Ahead
Registrant Street: c/o GoDaddy Redemption Services
Registrant Street: 14455 N. Hayden Road, Suite 219
Registrant City: Scottsdale
Registrant State/Province: AZ
Registrant Postal Code: 85260
Registrant Country: United States
Registrant Phone: +1.4805058877
Registrant Phone Ext:
Registrant Fax:
Registrant Fax Ext:
Registrant Email:
Registry Admin ID:
Admin Name:
Admin Organization: Go Daddy Redemption Services
Admin Street: 14455 N. Hayden Road, Suite 219
Admin City: Scottsdale
Admin State/Province: AZ
Admin Postal Code: 85260
                                                       Ex. 11 / P. 04
Admin Country: United States
     Case 3:13-cv-01045-SI   Document 136-2   Filed 07/22/14   Page 5 of 59
Admin Phone: +1.4805058877
Admin Phone Ext:
Admin Fax:
Admin Fax Ext:
Admin Email: support@godaddy.com
Registry Tech ID:
Tech Name:
Tech Organization: Go Daddy Redemption Services
Tech Street: 14455 N. Hayden Road, Suite 219
Tech City: Scottsdale
Tech State/Province: AZ
Tech Postal Code: 85260
Tech Country: United States
Tech Phone: +1.4805058877
Tech Phone Ext:
Tech Fax:
Tech Fax Ext:
Tech Email: support@godaddy.com
Name Server: NS37.DOMAINCONTROL.COM
Name Server: NS38.DOMAINCONTROL.COM
DNSSEC: unsigned
URL of the ICANN WHOIS Data Problem Reporting System:
http://wdprs.internic.net/
Last update of WHOIS database: 2014-07-17T21:00:00Z

The data contained in GoDaddy.com, LLC's WhoIs database,
while believed by the company to be reliable, is provided
"as is"
with no guarantee or warranties regarding its accuracy.
This
information is provided for the sole purpose of assisting
you
in obtaining information about domain name registration
records.
Any use of this data for any other purpose is expressly
forbidden without the prior written
permission of GoDaddy.com, LLC. By submitting an inquiry,
you agree to these terms of usage and limitations of
warranty. In particular,
you agree not to use this data to allow, enable, or
otherwise make possible,
dissemination or collection of this data, in part or in its
entirety, for any
purpose, such as the transmission of unsolicited
advertising and
and solicitations of any kind, including spam. You further
agree
not to use this data to enable high volume, automated or
robotic electronic
processes designed to collect or compile this data for Ex.
                                                        any11 / P. 05
purpose,
              Case 3:13-cv-01045-SI     Document 136-2    Filed 07/22/14   Page 6 of 59
       including mining this data for your own personal or
       commercial purposes.

       Please note: the registrant of the domain name is specified
       in the "registrant" section. In most cases, GoDaddy.com,
       LLC
       is not the registrant of domain names listed in this
       database.




    Submit a Complaint for WHOIS
    WHOIS Inaccuracy Complaint Form
    WHOIS Service Complaint Form

    WHOIS Compliance FAQs



NOTICE, DISCLAIMERS AND TERMS OF USE:

All results shown are captured from registries and/or registrars and are framed in real-time.
ICANN does not generate, collect, retain or store the results shown other than for the transitory
duration necessary to show these results in response to real-time queries.* These results are
shown for the sole purpose of assisting you in obtaining information about domain name
registration records and for no other purpose. You agree to use this data only for lawful purposes
and further agree not to use this data (i) to allow, enable, or otherwise support the transmission by
email, telephone, or facsimile of mass unsolicited, commercial advertising, or (ii) to enable high
volume, automated, electronic processes to collect or compile this data for any purpose,
including without limitation mining this data for your own personal or commercial purposes.
ICANN reserves the right to restrict or terminate your access to the data if you fail to abide by
these terms of use. ICANN reserves the right to modify these terms at any time. By submitting a
query, you agree to abide by these terms.

* There is one exception: ICANN acts as the registry operator for the .int TLD, and in that
capacity it does collect, generate, retain and store information regarding registrations in the .int
TLD.


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                                                                                          Ex. 11 / P. 06
    Case 3:13-cv-01045-SI   Document 136-2   Filed 07/22/14   Page 7 of 59




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                            Exhibit 12
7/20/2014              Case 3:13-cv-01045-SI         Document 136-2 Filed 07/22/14 Page 8 of 59
                                     fickporntube.com  WHOIS  domain  registration  information  from  Network  Solutions


            Search
            Renew
            Transfer
            Features
            Private Registration
            Protect
            Forward

   WHOIS Results for fickporntube.com

   Available domain names similar to fickporntube.com

   Available Extensions

        fickporntube.net
        fickporntube.org
        fickporntube.us
        fickporntube.us.com

   Available Domains

        fickperntube.com
        fickporntubesite.com
        fickporntubelive.com
        fickporntubestore.com

   Premium Resale Domains

        europorntube.com        $2,795
        superiortubepipe.com    $677
        backseatporn.com        $1,500
        bananporn.com           $299
        fickporntube.info
        fickporntube.mobi
        fickporntube.biz
        fickporntube.co.uk
        fickporntube.pro
        fickporntube.de
        fickporntubeblog.com
        virtualfickporntube.com
        fickporntube2u.com
        fickporntubeplanet.com
        myfickporntube.com
        mobilefickporntube.com
        everybodylovesporn.com $377
        rouletteporn.com       $2,595
        amateurxxxporn.com     $1,395

   View more




   fickporntube.com

   Is this your domain name? Renew it now.


                                                                                                                            Ex. 12 / P. 01
    Whois  Server  Version  2.0

http://www.networksolutions.com/whois/results.jsp?domain=fickporntube.com                                                                1/3
7/20/2014              Case 3:13-cv-01045-SI         Document 136-2 Filed 07/22/14 Page 9 of 59
                                     fickporntube.com  WHOIS  domain  registration  information  from  Network  Solutions

    Domain  names  in  the  .com  and  .net  domains  can  now  be  registered
    with  many  different  competing  registrars.  Go  to  http://www.internic.net
    for  detailed  information.

          Domain  Name:  FICKPORNTUBE.COM
          Registrar:  NETWORK  SOLUTIONS,  LLC.
          Whois  Server:  whois.networksolutions.com
          Referral  URL:  http://networksolutions.com
          Name  Server:  NS1.PENDINGRENEWALDELETION.COM
          Name  Server:  NS2.PENDINGRENEWALDELETION.COM
          Status:  redemptionPeriod
          Updated  Date:  14-­jul-­2014
          Creation  Date:  01-­jun-­2013
          Expiration  Date:  01-­jun-­2014

    >>>  Last  update  of  whois  database:  Mon,  21  Jul  2014  00:42:48  UTC  <<<

    NOTICE:  The  expiration  date  displayed  in  this  record  is  the  date  the  
    registrar's  sponsorship  of  the  domain  name  registration  in  the  registry  is  
    currently  set  to  expire.  This  date  does  not  necessarily  reflect  the  expiration  
    date  of  the  domain  name  registrant's  agreement  with  the  sponsoring  
    registrar.    Users  may  consult  the  sponsoring  registrar's  Whois  database  to  
    view  the  registrar's  reported  date  of  expiration  for  this  registration.

    TERMS  OF  USE:  You  are  not  authorized  to  access  or  query  our  Whois  
    database  through  the  use  of  electronic  processes  that  are  high-­volume  and  
    automated  except  as  reasonably  necessary  to  register  domain  names  or  
    modify  existing  registrations;;  the  Data  in  VeriSign  Global  Registry  
    Services'  ("VeriSign")  Whois  database  is  provided  by  VeriSign  for  
    information  purposes  only,  and  to  assist  persons  in  obtaining  information  
    about  or  related  to  a  domain  name  registration  record.  VeriSign  does  not  
    guarantee  its  accuracy.  By  submitting  a  Whois  query,  you  agree  to  abide  
    by  the  following  terms  of  use:  You  agree  that  you  may  use  this  Data  only  
    for  lawful  purposes  and  that  under  no  circumstances  will  you  use  this  Data  
    to:  (1)  allow,  enable,  or  otherwise  support  the  transmission  of  mass  
    unsolicited,  commercial  advertising  or  solicitations  via  e-­mail,  telephone,  
    or  facsimile;;  or  (2)  enable  high  volume,  automated,  electronic  processes  
    that  apply  to  VeriSign  (or  its  computer  systems).  The  compilation,  
    repackaging,  dissemination  or  other  use  of  this  Data  is  expressly  
    prohibited  without  the  prior  written  consent  of  VeriSign.  You  agree  not  to  
    use  electronic  processes  that  are  automated  and  high-­volume  to  access  or  
    query  the  Whois  database  except  as  reasonably  necessary  to  register  
    domain  names  or  modify  existing  registrations.  VeriSign  reserves  the  right  
    to  restrict  your  access  to  the  Whois  database  in  its  sole  discretion  to  ensure  
    operational  stability.    VeriSign  may  restrict  or  terminate  your  access  to  the  
    Whois  database  for  failure  to  abide  by  these  terms  of  use.  VeriSign  
    reserves  the  right  to  modify  these  terms  at  any  time.  

    The  Registry  database  contains  ONLY  .COM,  .NET,  .EDU  domains  and
    Registrars.


    The previous information has been obtained either directly from the registrant or a registrar of the domain name other
    than Network Solutions. Network Solutions, therefore, does not guarantee its accuracy or completeness.

     Show underlying registry data for this record


   Make an instant, anonymous offer to the current domain registrant. Learn More




   Search Again




                                                                                                                            Ex. 12 / P. 02

http://www.networksolutions.com/whois/results.jsp?domain=fickporntube.com                                                                2/3
7/20/2014             Case 3:13-cv-01045-SI         Document 136-2 Filed 07/22/14 Page 10 of 59
                                     fickporntube.com  WHOIS  domain  registration  information  from  Network  Solutions

    Search again here...


   Search by either

        Domain Name e.g. networksolutions.com
        IP Address e.g. 205.178.187.13




  Processing...




                                                                                                                        Ex. 12 / P. 03

http://www.networksolutions.com/whois/results.jsp?domain=fickporntube.com                                                            3/3
    Case 3:13-cv-01045-SI   Document 136-2   Filed 07/22/14   Page 11 of 59




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                            Exhibit 13
Case 3:13-cv-01045-SI   Document 136-2   Filed 07/22/14   Page 12 of 59




                                                                      Ex. 13 / P. 01
            Case 3:13-cv-01045-SI   Document 136-2    Filed 07/22/14    Page 13 of 59

                    简体中文      English   Français   Русский    Español   ‫ﺍاﻟﻌﺭرﺑﻳﯾﺔ‬



              WHOIS BETA


     freehdporntubes.net                             Lookup


Provide Feedback



   Showing results for: FREEHDPORNTUBES.NET
   Original Query: freehdporntubes.net




     Contact Information
     Registrant Contact
     Name: ilhan sanli
     Organization:
     Mailing Address: camlica sk nergiz sk no 42 eskisehir, eskisehir tepebasi 26100
     Turkey
     Phone: 05073533614
     Ext:
     Fax:
     Fax Ext:
     Email:efsan__@hotmail.com

     Admin Contact
     Name: ilhan sanli
     Organization:
     Mailing Address: camlica sk nergiz sk no 42 eskisehir, eskisehir tepebasi 26100
     Turkey
     Phone: 05073533614
     Ext:
     Fax:
     Fax Ext:
     Email:efsan__@hotmail.com
                                                                                     Ex. 13 / P. 02
      Case 3:13-cv-01045-SI   Document 136-2   Filed 07/22/14   Page 14 of 59

Tech Contact
Name: ilhan sanli
Organization:
Mailing Address: camlica sk nergiz sk no 42 eskisehir, eskisehir tepebasi 26100
Turkey
Phone: 05073533614
Ext:
Fax:
Fax Ext:
Email:efsan__@hotmail.com




Registrar
WHOIS Server: whois.godaddy.com
URL: http://www.godaddy.com
Registrar: GoDaddy.com, LLC
IANA ID: 146
Abuse Contact Email:abuse@godaddy.com
Abuse Contact Phone: +1.480-624-2505




Status
Domain Status:clientTransferProhibited
Domain Status:clientUpdateProhibited
Domain Status:clientRenewProhibited
Domain Status:clientDeleteProhibited




Important Dates
Updated Date: 2013-11-15
Created Date:
Registration Expiration Date: 2014-11-15



                                                                            Ex. 13 / P. 03
     Case 3:13-cv-01045-SI   Document 136-2   Filed 07/22/14   Page 15 of 59



Name Servers
NS35.DOMAINCONTROL.COM
NS36.DOMAINCONTROL.COM




Raw WHOIS Record

Domain Name: FREEHDPORNTUBES.NET
Registry Domain ID: 1835546563_DOMAIN_NET-VRSN
Registrar WHOIS Server: whois.godaddy.com
Registrar URL: http://www.godaddy.com
Update Date: 2013-11-15 03:58:00
Creation Date: 2013-11-15 03:58:00
Registrar Registration Expiration Date: 2014-11-15 03:58:00
Registrar: GoDaddy.com, LLC
Registrar IANA ID: 146
Registrar Abuse Contact Email: abuse@godaddy.com
Registrar Abuse Contact Phone: +1.480-624-2505
Domain Status: clientTransferProhibited
Domain Status: clientUpdateProhibited
Domain Status: clientRenewProhibited
Domain Status: clientDeleteProhibited
Registry Registrant ID:
Registrant Name: ilhan sanli
Registrant Organization:
Registrant Street: camlica sk nergiz sk no 42 eskisehir
Registrant City: eskisehir
Registrant State/Province: tepebasi
Registrant Postal Code: 26100
Registrant Country: Turkey
Registrant Phone: 05073533614
Registrant Phone Ext:
Registrant Fax:
Registrant Fax Ext:
Registrant Email: efsan__@hotmail.com
Registry Admin ID:
Admin Name: ilhan sanli
Admin Organization:
Admin Street: camlica sk nergiz sk no 42 eskisehir
Admin City: eskisehir
Admin State/Province: tepebasi
Admin Postal Code: 26100
Admin Country: Turkey
                                                       Ex. 13 / P. 04
Admin Phone: 05073533614
     Case 3:13-cv-01045-SI   Document 136-2   Filed 07/22/14   Page 16 of 59
Admin Phone Ext:
Admin Fax:
Admin Fax Ext:
Admin Email: efsan__@hotmail.com
Registry Tech ID:
Tech Name: ilhan sanli
Tech Organization:
Tech Street: camlica sk nergiz sk no 42 eskisehir
Tech City: eskisehir
Tech State/Province: tepebasi
Tech Postal Code: 26100
Tech Country: Turkey
Tech Phone: 05073533614
Tech Phone Ext:
Tech Fax:
Tech Fax Ext:
Tech Email: efsan__@hotmail.com
Name Server: NS35.DOMAINCONTROL.COM
Name Server: NS36.DOMAINCONTROL.COM
DNSSEC: unsigned
URL of the ICANN WHOIS Data Problem Reporting System:
http://wdprs.internic.net/
Last update of WHOIS database: 2014-07-17T23:00:00Z

The data contained in GoDaddy.com, LLC's WhoIs database,
while believed by the company to be reliable, is provided
"as is"
with no guarantee or warranties regarding its accuracy.
This
information is provided for the sole purpose of assisting
you
in obtaining information about domain name registration
records.
Any use of this data for any other purpose is expressly
forbidden without the prior written
permission of GoDaddy.com, LLC. By submitting an inquiry,
you agree to these terms of usage and limitations of
warranty. In particular,
you agree not to use this data to allow, enable, or
otherwise make possible,
dissemination or collection of this data, in part or in its
entirety, for any
purpose, such as the transmission of unsolicited
advertising and
and solicitations of any kind, including spam. You further
agree
not to use this data to enable high volume, automated or
robotic electronic
processes designed to collect or compile this data for any
purpose,                                               Ex. 13 / P. 05
including mining this data for your own personal or
              Case 3:13-cv-01045-SI    Document 136-2     Filed 07/22/14   Page 17 of 59
       commercial purposes.

       Please note: the registrant of the domain name is specified
       in the "registrant" section. In most cases, GoDaddy.com,
       LLC
       is not the registrant of domain names listed in this
       database.




    Submit a Complaint for WHOIS
    WHOIS Inaccuracy Complaint Form
    WHOIS Service Complaint Form

    WHOIS Compliance FAQs



NOTICE, DISCLAIMERS AND TERMS OF USE:

All results shown are captured from registries and/or registrars and are framed in real-time.
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duration necessary to show these results in response to real-time queries.* These results are
shown for the sole purpose of assisting you in obtaining information about domain name
registration records and for no other purpose. You agree to use this data only for lawful purposes
and further agree not to use this data (i) to allow, enable, or otherwise support the transmission by
email, telephone, or facsimile of mass unsolicited, commercial advertising, or (ii) to enable high
volume, automated, electronic processes to collect or compile this data for any purpose,
including without limitation mining this data for your own personal or commercial purposes.
ICANN reserves the right to restrict or terminate your access to the data if you fail to abide by
these terms of use. ICANN reserves the right to modify these terms at any time. By submitting a
query, you agree to abide by these terms.

* There is one exception: ICANN acts as the registry operator for the .int TLD, and in that
capacity it does collect, generate, retain and store information regarding registrations in the .int
TLD.


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                                                                                        Ex. 13 / P. 06
    Case 3:13-cv-01045-SI   Document 136-2   Filed 07/22/14   Page 18 of 59




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                            Exhibit 14
Case 3:13-cv-01045-SI   Document 136-2   Filed 07/22/14   Page 19 of 59




                                                                      Ex. 14 / P. 01
           Case 3:13-cv-01045-SI   Document 136-2    Filed 07/22/14    Page 20 of 59

                   简体中文      English   Français   Русский    Español   ‫ﺍاﻟﻌﺭرﺑﻳﯾﺔ‬



             WHOIS BETA
Provide Feedback

     freeporntube.com                               Lookup
   Showing results for: FREEPORNTUBE.COM
   Original Query: freeporntube.com




     Contact Information
     Registrant Contact
     Name: LLC RNC Communications
     Organization: RNC Communications LLC
     Mailing Address: 23233 N. PIMA Rd Ste 113 PMB 144, Scottsdale AZ 85255-8385
     US
     Phone: +1.4405379063
     Ext:
     Fax:
     Fax Ext:
     Email:webmaster@1-a-z-adult-free-stories.com

     Admin Contact
     Name: LLC RNC Communications
     Organization: RNC Communications LLC
     Mailing Address: 23233 N. PIMA Rd Ste 113 PMB 144, Scottsdale AZ 85255-8385
     US
     Phone: +1.4405379063
     Ext:
     Fax:
     Fax Ext:
     Email:webmaster@1-a-z-adult-free-stories.com

     Tech Contact
     Name: LLC RNC Communications
     Organization: RNC Communications LLC
     Mailing Address: 23233 N. PIMA Rd Ste 113 PMB 144, Scottsdale AZ 85255-8385
     US                                                                     Ex. 14 / P. 02
      Case 3:13-cv-01045-SI   Document 136-2   Filed 07/22/14   Page 21 of 59
Phone: +1.4405379063
Ext:
Fax:
Fax Ext:
Email:webmaster@1-a-z-adult-free-stories.com




Registrar
WHOIS Server: whois.directnic.com
URL: http://www.directnic.com
Registrar: DNC Holdings, Inc.
IANA ID: 291
Abuse Contact Email:abuse@directnic.com
Abuse Contact Phone: +1.8668569598




Status
Domain Status:clientTransferProhibited
Domain Status:clientUpdateProhibited
Domain Status:clientDeleteProhibited




Important Dates
Updated Date: 2014-05-27
Created Date:
Registration Expiration Date: 2014-10-31




Name Servers
NS2.National-net.com
NS1.National-net.com

                                                                            Ex. 14 / P. 03
     Case 3:13-cv-01045-SI   Document 136-2   Filed 07/22/14   Page 22 of 59

Raw WHOIS Record


Domain Name: FREEPORNTUBE.COM
Registry Domain ID: 1526561627_DOMAIN_COM-VRSN
Registrar WHOIS Server: whois.directnic.com
Registrar URL: http://www.directnic.com
Updated Date: 2014-05-27T21:44:10+00:00
Creation Date: 2008-10-31T18:57:58+00:00
Registrar Registration Expiration Date: 2014-10-
31T18:57:58+00:00
Registrar: DNC Holdings, Inc.
Registrar IANA ID: 291
Registrar Abuse Contact Email: abuse@directnic.com
Registrar Abuse Contact Phone: +1.8668569598
Domain Status: clientTransferProhibited
Domain Status: clientUpdateProhibited
Domain Status: clientDeleteProhibited
Registrant Name: LLC RNC Communications
Registrant Organization: RNC Communications LLC
Registrant Street: 23233 N. PIMA Rd Ste 113 PMB 144
Registrant City: Scottsdale
Registrant State/Province: AZ
Registrant Postal Code: 85255-8385
Registrant Country: US
Registrant Phone: +1.4405379063
Registrant Phone Ext:
Registrant Fax:
Registrant Fax Ext:
Registrant Email: webmaster@1-a-z-adult-free-stories.com
Admin Name: LLC RNC Communications
Admin Organization: RNC Communications LLC
Admin Street: 23233 N. PIMA Rd Ste 113 PMB 144
Admin City: Scottsdale
Admin State/Province: AZ
Admin Postal Code: 85255-8385
Admin Country: US
Admin Phone: +1.4405379063
Admin Phone Ext:
Admin Fax:
Admin Fax Ext:
Admin Email: webmaster@1-a-z-adult-free-stories.com
Tech Name: LLC RNC Communications
Tech Organization: RNC Communications LLC
Tech Street: 23233 N. PIMA Rd Ste 113 PMB 144
Tech City: Scottsdale
Tech State/Province: AZ
Tech Postal Code: 85255-8385
                                                       Ex. 14 / P. 04
Tech Country: US
              Case 3:13-cv-01045-SI   Document 136-2     Filed 07/22/14   Page 23 of 59
       Tech Phone: +1.4405379063
       Tech Phone Ext:
       Tech Fax:
       Tech Fax Ext:
       Tech Email: webmaster@1-a-z-adult-free-stories.com
       Name Server: NS2.National-net.com
       Name Server: NS1.National-net.com
       URL of the ICANN WHOIS Data Problem Reporting System
       http://wdprs.internic.net
       >>> Last update of WHOIS database: 2014-07-
       17T23:22:50+00:00 <<<


       The compilation, repackaging, dissemination, or other use
       of this WHOIS
       data is expressly prohibited without the prior written
       consent of
       DNC Holdings, Inc.

       DNC Holdings reserves the right to terminate your access to
       its WHOIS
       database in its sole discretion, including without
       limitation, for
       excessive querying of the database or for failure to
       otherwise abide by
       this policy.

       DNC Holdings reserves the right to modify these terms at
       any time.

       NOTE: THE WHOIS DATABASE IS A CONTACT DATABASE ONLY.
       LACK OF A DOMAIN RECORD DOES NOT SIGNIFY DOMAIN
       AVAILABILITY.




    Submit a Complaint for WHOIS
    WHOIS Inaccuracy Complaint Form
    WHOIS Service Complaint Form

    WHOIS Compliance FAQs



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              Case 3:13-cv-01045-SI    Document 136-2     Filed 07/22/14   Page 24 of 59
registration records and for no other purpose. You agree to use this data only for lawful purposes
and further agree not to use this data (i) to allow, enable, or otherwise support the transmission by
email, telephone, or facsimile of mass unsolicited, commercial advertising, or (ii) to enable high
volume, automated, electronic processes to collect or compile this data for any purpose,
including without limitation mining this data for your own personal or commercial purposes.
ICANN reserves the right to restrict or terminate your access to the data if you fail to abide by
these terms of use. ICANN reserves the right to modify these terms at any time. By submitting a
query, you agree to abide by these terms.

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capacity it does collect, generate, retain and store information regarding registrations in the .int
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                                                                                        Ex. 14 / P. 06
    Case 3:13-cv-01045-SI   Document 136-2   Filed 07/22/14   Page 25 of 59




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                            Exhibit 15
           Case 3:13-cv-01045-SI   Document 136-2    Filed 07/22/14    Page 26 of 59

                   简体中文      English   Français   Русский    Español   ‫ﺍاﻟﻌﺭرﺑﻳﯾﺔ‬



             WHOIS BETA


     freexxxxporntube.com                           Lookup


Provide Feedback



   Showing results for: freexxxxporntube.com
   Original Query: freexxxxporntube.com




     Contact Information
     Registrant Contact
     Name: Domain ID Shield Service
     Organization: Domain ID Shield Service CO., Limited
     Mailing Address: 5/F Hong Kong Trade Centre, 161-167 DesVoeux Road Central,
     Hong Kong, Hong Kong Hong Kong 999077 CN
     Phone: +852.21581835
     Ext:
     Fax: +852.30197491
     Fax Ext:
     Email:5261779399104@domainidshield.com

     Admin Contact
     Name: Domain ID Shield Service
     Organization: Domain ID Shield Service CO., Limited
     Mailing Address: 5/F Hong Kong Trade Centre, 161-167 DesVoeux Road Central,
     Hong Kong, Hong Kong Hong Kong 999077 CN
     Phone: +852.21581835
     Ext:
     Fax: +852.30197491
     Fax Ext:
     Email:5261779399101@domainidshield.com
                                                                                    Ex. 15 / P. 01
      Case 3:13-cv-01045-SI   Document 136-2   Filed 07/22/14   Page 27 of 59

Tech Contact
Name: Domain ID Shield Service
Organization: Domain ID Shield Service CO., Limited
Mailing Address: 5/F Hong Kong Trade Centre, 161-167 DesVoeux Road Central,
Hong Kong, Hong Kong Hong Kong 999077 CN
Phone: +852.21581835
Ext:
Fax: +852.30197491
Fax Ext:
Email:5261779399102@domainidshield.com




Registrar
WHOIS Server: whois.onlinenic.com
URL: http://www.onlinenic.com
Registrar: Onlinenic Inc
IANA ID: 82
Abuse Contact Email:onlinenic-enduser@onlinenic.com
Abuse Contact Phone: +1.5107698492




Status
Domain Status:ok




Important Dates
Updated Date:
Created Date:
Registration Expiration Date: 2015-06-07




Name Servers
ns1.victory.jp                                                              Ex. 15 / P. 02
      Case 3:13-cv-01045-SI   Document 136-2   Filed 07/22/14   Page 28 of 59
ns2.victory.jp




Raw WHOIS Record

Domain Name: freexxxxporntube.com
Registry Domain ID:
Registrar WHOIS Server: whois.onlinenic.com
Registrar URL: http://www.onlinenic.com
Updated Date:
Creation Date: 2014-06-07
Registrar Registration Expiration Date: 2015-06-07
Registrar: Onlinenic Inc
Registrar IANA ID: 82
Registrar Abuse Contact Email: onlinenic-
enduser@onlinenic.com
Registrar Abuse Contact Phone: +1.5107698492
Domain Status: ok
Registry Registrant ID:
Registrant Name: Domain ID Shield Service
Registrant Organization: Domain ID Shield Service CO.,
Limited
Registrant Street: 5/F Hong Kong Trade Centre, 161-167
DesVoeux Road Central, Hong Kong
Registrant City: Hong Kong
Registrant State/Province: Hong Kong
Registrant Postal Code: 999077
Registrant Country: CN
Registrant Phone: +852.21581835
Registrant Phone Ext:
Registrant Fax: +852.30197491
Registrant Fax Ext:
Registrant Email: 5261779399104@domainidshield.com
Registry Admin ID:
Admin Name: Domain ID Shield Service
Admin Organization: Domain ID Shield Service CO., Limited
Admin Street: 5/F Hong Kong Trade Centre, 161-167 DesVoeux
Road Central, Hong Kong
Admin City: Hong Kong
Admin State/Province: Hong Kong
Admin Postal Code: 999077
Admin Country: CN
Admin Phone: +852.21581835
Admin Phone Ext:
Admin Fax: +852.30197491
Admin Fax Ext:
Admin Email: 5261779399101@domainidshield.com          Ex. 15 / P. 03
Registry Tech ID:
              Case 3:13-cv-01045-SI    Document 136-2     Filed 07/22/14   Page 29 of 59
       Tech Name: Domain ID Shield Service
       Tech Organization: Domain ID Shield Service CO., Limited
       Tech Street: 5/F Hong Kong Trade Centre, 161-167 DesVoeux
       Road Central, Hong Kong
       Tech City: Hong Kong
       Tech State/Province: Hong Kong
       Tech Postal Code: 999077
       Tech Country: CN
       Tech Phone: +852.21581835
       Tech Phone Ext:
       Tech Fax: +852.30197491
       Tech Fax Ext:
       Tech Email: 5261779399102@domainidshield.com
       Name Server: ns1.victory.jp
       Name Server: ns2.victory.jp
       URL of the ICANN WHOIS Data Problem Reporting System:
       http://wdprs.internic.net/
       >>> Last update of WHOIS database: <<<




    Submit a Complaint for WHOIS
    WHOIS Inaccuracy Complaint Form
    WHOIS Service Complaint Form

    WHOIS Compliance FAQs



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duration necessary to show these results in response to real-time queries.* These results are
shown for the sole purpose of assisting you in obtaining information about domain name
registration records and for no other purpose. You agree to use this data only for lawful purposes
and further agree not to use this data (i) to allow, enable, or otherwise support the transmission by
email, telephone, or facsimile of mass unsolicited, commercial advertising, or (ii) to enable high
volume, automated, electronic processes to collect or compile this data for any purpose,
including without limitation mining this data for your own personal or commercial purposes.
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these terms of use. ICANN reserves the right to modify these terms at any time. By submitting a
query, you agree to abide by these terms.

* There is one exception: ICANN acts as the registry operator for the .int TLD, and in that
capacity it does collect, generate, retain and store information regarding registrations in the .int
TLD.

                                                                                        Ex. 15 / P. 04
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    Case 3:13-cv-01045-SI   Document 136-2   Filed 07/22/14   Page 30 of 59




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                            Exhibit 16
Case 3:13-cv-01045-SI   Document 136-2   Filed 07/22/14   Page 31 of 59




                                                                      Ex. 16 / P. 01
           Case 3:13-cv-01045-SI   Document 136-2    Filed 07/22/14    Page 32 of 59

                   简体中文      English   Français   Русский    Español   ‫ﺍاﻟﻌﺭرﺑﻳﯾﺔ‬



             WHOIS BETA


     gaybearporntube.com                            Lookup


Provide Feedback



   Showing results for: GAYBEARPORNTUBE.COM
   Original Query: gaybearporntube.com



     Raw WHOIS Record

     Domain Name: GAYBEARPORNTUBE.COM

     Abuse email: abuse@ahnames.com

     Registrant:
         WhoisProtectService.net PROTECTSERVICE, LTD.
     gaybearporntube.com@whoisprotectservice.net
         27 Old Gloucester Street
         London WC1N 3AX
         United Kingdom
         +44.02074195061

     Registered Through:
         AHnames.com http://www.AHnames.com/

     Administrative Contact:
         WhoisProtectService.net PROTECTSERVICE, LTD.
     gaybearporntube.com@whoisprotectservice.net
         27 Old Gloucester Street
         London WC1N 3AX
         United Kingdom
         +44.02074195061

     Technical Contact:
         WhoisProtectService.net PROTECTSERVICE, LTD.
     gaybearporntube.com@whoisprotectservice.net                                    Ex. 16 / P. 02
              Case 3:13-cv-01045-SI    Document 136-2     Filed 07/22/14   Page 33 of 59
             27 Old Gloucester Street
             London WC1N 3AX
             United Kingdom
             +44.02074195061

       Billing Contact:
           WhoisProtectService.net PROTECTSERVICE, LTD.
       gaybearporntube.com@whoisprotectservice.net
           27 Old Gloucester Street
           London WC1N 3AX
           United Kingdom
           +44.02074195061

       Name Server: NS1.PUB-NS.COM
       Name Server: NS2.PUB-NS.COM

       Creation Date: 2013-03-12
       Expiration Date: 2015-03-12




    Submit a Complaint for WHOIS
    WHOIS Inaccuracy Complaint Form
    WHOIS Service Complaint Form

    WHOIS Compliance FAQs



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and further agree not to use this data (i) to allow, enable, or otherwise support the transmission by
email, telephone, or facsimile of mass unsolicited, commercial advertising, or (ii) to enable high
volume, automated, electronic processes to collect or compile this data for any purpose,
including without limitation mining this data for your own personal or commercial purposes.
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these terms of use. ICANN reserves the right to modify these terms at any time. By submitting a
query, you agree to abide by these terms.

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capacity it does collect, generate, retain and store information regarding registrations in the .int
TLD.

                                                                                        Ex. 16 / P. 03
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    Case 3:13-cv-01045-SI   Document 136-2   Filed 07/22/14   Page 34 of 59




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                            Exhibit 17
Case 3:13-cv-01045-SI   Document 136-2   Filed 07/22/14   Page 35 of 59




                                                                      Ex. 17 / P. 01
           Case 3:13-cv-01045-SI    Document 136-2     Filed 07/22/14   Page 36 of 59

                   简体中文        English   Français   Русский   Español   ‫ﺍاﻟﻌﺭرﺑﻳﯾﺔ‬



             WHOIS BETA


     goldenageofporntube.com                         Lookup


Provide Feedback



   Showing results for: GOLDENAGEOFPORNTUBE.COM
   Original Query: goldenageofporntube.com




     Contact Information
     Registrant Contact
     Name: Direct Privacy
     Organization: Domain Name Proxy Service, Inc
     Mailing Address: P.O. Box 6592, Metairie LA 70009 US
     Phone: +1.5043550082
     Ext:
     Fax:
     Fax Ext:
     Email:goldenageofporntube.com@domainnameproxyservice.com

     Admin Contact
     Name: Direct Privacy
     Organization: Domain Name Proxy Service, Inc
     Mailing Address: P.O. Box 6592, Metairie LA 70009 US
     Phone: +1.5043550082
     Ext:
     Fax:
     Fax Ext:
     Email:goldenageofporntube.com@domainnameproxyservice.com

     Tech Contact
     Name: Direct Privacy                                                            Ex. 17 / P. 02
      Case 3:13-cv-01045-SI   Document 136-2   Filed 07/22/14   Page 37 of 59
Organization: Domain Name Proxy Service, Inc
Mailing Address: P.O. Box 6592, Metairie LA 70009 US
Phone: +1.5043550082
Ext:
Fax:
Fax Ext:
Email:goldenageofporntube.com@domainnameproxyservice.com




Registrar
WHOIS Server: whois.directnic.com
URL: http://www.directnic.com
Registrar: DNC Holdings, Inc.
IANA ID: 291
Abuse Contact Email:abuse@directnic.com
Abuse Contact Phone: +1.8668569598




Status
Domain Status:clientTransferProhibited
Domain Status:clientUpdateProhibited
Domain Status:clientDeleteProhibited




Important Dates
Updated Date: 2014-06-04
Created Date:
Registration Expiration Date: 2015-06-23




Name Servers
NS0.DIRECTNIC.COM
NS1.DIRECTNIC.COM                                                           Ex. 17 / P. 03
     Case 3:13-cv-01045-SI   Document 136-2   Filed 07/22/14   Page 38 of 59




Raw WHOIS Record


Domain Name: GOLDENAGEOFPORNTUBE.COM
Registry Domain ID: 1500314466_DOMAIN_COM-VRSN
Registrar WHOIS Server: whois.directnic.com
Registrar URL: http://www.directnic.com
Updated Date: 2014-06-04T20:17:18+00:00
Creation Date: 2008-06-23T20:48:41+00:00
Registrar Registration Expiration Date: 2015-06-
23T20:48:41+00:00
Registrar: DNC Holdings, Inc.
Registrar IANA ID: 291
Registrar Abuse Contact Email: abuse@directnic.com
Registrar Abuse Contact Phone: +1.8668569598
Domain Status: clientTransferProhibited
Domain Status: clientUpdateProhibited
Domain Status: clientDeleteProhibited
Registrant Name: Direct Privacy
Registrant Organization: Domain Name Proxy Service, Inc
Registrant Street: P.O. Box 6592
Registrant City: Metairie
Registrant State/Province: LA
Registrant Postal Code: 70009
Registrant Country: US
Registrant Phone: +1.5043550082
Registrant Phone Ext:
Registrant Fax:
Registrant Fax Ext:
Registrant Email:
goldenageofporntube.com@domainnameproxyservice.com
Admin Name: Direct Privacy
Admin Organization: Domain Name Proxy Service, Inc
Admin Street: P.O. Box 6592
Admin City: Metairie
Admin State/Province: LA
Admin Postal Code: 70009
Admin Country: US
Admin Phone: +1.5043550082
Admin Phone Ext:
Admin Fax:
Admin Fax Ext:
Admin Email:
goldenageofporntube.com@domainnameproxyservice.com
Tech Name: Direct Privacy
Tech Organization: Domain Name Proxy Service, Inc      Ex. 17 / P. 04
       Case 3:13-cv-01045-SI   Document 136-2   Filed 07/22/14   Page 39 of 59
  Tech Street: P.O. Box 6592
  Tech City: Metairie
  Tech State/Province: LA
  Tech Postal Code: 70009
  Tech Country: US
  Tech Phone: +1.5043550082
  Tech Phone Ext:
  Tech Fax:
  Tech Fax Ext:
  Tech Email:
  goldenageofporntube.com@domainnameproxyservice.com
  Name Server: NS0.DIRECTNIC.COM
  Name Server: NS1.DIRECTNIC.COM
  URL of the ICANN WHOIS Data Problem Reporting System
  http://wdprs.internic.net
  >>> Last update of WHOIS database: 2014-07-
  17T23:23:35+00:00 <<<


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  of this WHOIS
  data is expressly prohibited without the prior written
  consent of
  DNC Holdings, Inc.

  DNC Holdings reserves the right to terminate your access to
  its WHOIS
  database in its sole discretion, including without
  limitation, for
  excessive querying of the database or for failure to
  otherwise abide by
  this policy.

  DNC Holdings reserves the right to modify these terms at
  any time.

  NOTE: THE WHOIS DATABASE IS A CONTACT DATABASE ONLY.
  LACK OF A DOMAIN RECORD DOES NOT SIGNIFY DOMAIN
  AVAILABILITY.




Submit a Complaint for WHOIS
WHOIS Inaccuracy Complaint Form
WHOIS Service Complaint Form

WHOIS Compliance FAQs

                                                                             Ex. 17 / P. 05
              Case 3:13-cv-01045-SI    Document 136-2     Filed 07/22/14   Page 40 of 59
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volume, automated, electronic processes to collect or compile this data for any purpose,
including without limitation mining this data for your own personal or commercial purposes.
ICANN reserves the right to restrict or terminate your access to the data if you fail to abide by
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query, you agree to abide by these terms.

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TLD.


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                                                                                        Ex. 17 / P. 06
    Case 3:13-cv-01045-SI   Document 136-2   Filed 07/22/14   Page 41 of 59




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                            Exhibit 18
Case 3:13-cv-01045-SI   Document 136-2   Filed 07/22/14   Page 42 of 59




                                                                      Ex. 18 / P. 01
           Case 3:13-cv-01045-SI   Document 136-2    Filed 07/22/14    Page 43 of 59

                   简体中文      English   Français   Русский    Español   ‫ﺍاﻟﻌﺭرﺑﻳﯾﺔ‬



             WHOIS BETA


     growporntube.com                               Lookup


Provide Feedback



   Showing results for: GROWPORNTUBE.COM
   Original Query: growporntube.com




     Contact Information
     Registrant Contact
     Name: WHOISGUARD PROTECTED
     Organization: WHOISGUARD, INC.
     Mailing Address: P.O. BOX 0823-03411, PANAMA PANAMA 00000 PA
     Phone: +507.8365503
     Ext:
     Fax: +51.17057182
     Fax Ext:
     Email:0B83F2F9800C4EA882B91CC38495BA4D.PROTECT@WHOISGUARD.COM

     Admin Contact
     Name: WHOISGUARD PROTECTED
     Organization: WHOISGUARD, INC.
     Mailing Address: P.O. BOX 0823-03411, PANAMA PANAMA 00000 PA
     Phone: +507.8365503
     Ext:
     Fax: +51.17057182
     Fax Ext:
     Email:0B83F2F9800C4EA882B91CC38495BA4D.PROTECT@WHOISGUARD.COM

     Tech Contact
     Name: WHOISGUARD PROTECTED                                                     Ex. 18 / P. 02
      Case 3:13-cv-01045-SI   Document 136-2   Filed 07/22/14   Page 44 of 59
Organization: WHOISGUARD, INC.
Mailing Address: P.O. BOX 0823-03411, PANAMA PANAMA 00000 PA
Phone: +507.8365503
Ext:
Fax: +51.17057182
Fax Ext:
Email:0B83F2F9800C4EA882B91CC38495BA4D.PROTECT@WHOISGUARD.COM




Registrar
WHOIS Server: whois.enom.com
URL: www.enom.com
Registrar: ENOM, INC.
IANA ID: 48
Abuse Contact Email:abuse@enom.com
Abuse Contact Phone: +1.4252744500




Status
Domain Status:clientTransferProhibited




Important Dates
Updated Date: 2013-04-30
Created Date:
Registration Expiration Date: 2015-04-30




Name Servers
NS1.BIGXXXTITS.COM
NS2.BIGXXXTITS.COM

                                                                            Ex. 18 / P. 03
     Case 3:13-cv-01045-SI   Document 136-2   Filed 07/22/14   Page 45 of 59

Raw WHOIS Record


Domain Name: GROWPORNTUBE.COM
Registry Domain ID: 1798055426_DOMAIN_COM-VRSN
Registrar WHOIS Server: whois.enom.com
Registrar URL: www.enom.com
Updated Date: 2013-05-01 01:37:28Z
Creation Date: 2013-05-01 09:37:00Z
Registrar Registration Expiration Date: 2015-05-01
01:37:00Z
Registrar: ENOM, INC.
Registrar IANA ID: 48
Registrar Abuse Contact Email: abuse@enom.com
Registrar Abuse Contact Phone: +1.4252744500
Reseller: NAMECHEAP.COM
Domain Status: clientTransferProhibited
Registry Registrant ID:
Registrant Name: WHOISGUARD PROTECTED
Registrant Organization: WHOISGUARD, INC.
Registrant Street: P.O. BOX 0823-03411
Registrant City: PANAMA
Registrant State/Province: PANAMA
Registrant Postal Code: 00000
Registrant Country: PA
Registrant Phone: +507.8365503
Registrant Phone Ext:
Registrant Fax: +51.17057182
Registrant Fax Ext:
Registrant Email:
0B83F2F9800C4EA882B91CC38495BA4D.PROTECT@WHOISGUARD.COM
Registry Admin ID:
Admin Name: WHOISGUARD PROTECTED
Admin Organization: WHOISGUARD, INC.
Admin Street: P.O. BOX 0823-03411
Admin City: PANAMA
Admin State/Province: PANAMA
Admin Postal Code: 00000
Admin Country: PA
Admin Phone: +507.8365503
Admin Phone Ext:
Admin Fax: +51.17057182
Admin Fax Ext:
Admin Email:
0B83F2F9800C4EA882B91CC38495BA4D.PROTECT@WHOISGUARD.COM
Registry Tech ID:
Tech Name: WHOISGUARD PROTECTED
Tech Organization: WHOISGUARD, INC.
Tech Street: P.O. BOX 0823-03411                       Ex. 18 / P. 04
    Case 3:13-cv-01045-SI   Document 136-2   Filed 07/22/14   Page 46 of 59
Tech City: PANAMA
Tech State/Province: PANAMA
Tech Postal Code: 00000
Tech Country: PA
Tech Phone: +507.8365503
Tech Phone Ext:
Tech Fax: +51.17057182
Tech Fax Ext:
Tech Email:
0B83F2F9800C4EA882B91CC38495BA4D.PROTECT@WHOISGUARD.COM
Name Server: NS1.BIGXXXTITS.COM
Name Server: NS2.BIGXXXTITS.COM
DNSSEC: unSigned
URL of the ICANN WHOIS Data Problem Reporting System:
http://wdprs.internic.net/
Last update of WHOIS database: 2013-05-01 01:37:28Z

The data in this whois database is provided to you for
information
purposes only, that is, to assist you in obtaining
information about or
related to a domain name registration record. We make this
information
available "as is," and do not guarantee its accuracy. By
submitting a
whois query, you agree that you will use this data only for
lawful
purposes and that, under no circumstances will you use this
data to: (1)
enable high volume, automated, electronic processes that
stress or load
this whois database system providing you this information;
or (2) allow,
enable, or otherwise support the transmission of mass
unsolicited,
commercial advertising or solicitations via direct mail,
electronic
mail, or by telephone. The compilation, repackaging,
dissemination or
other use of this data is expressly prohibited without
prior written
consent from us.

We reserve the right to modify these terms at any time. By
submitting
this query, you agree to abide by these terms.
Version 6.3 4/3/2002


                                                                          Ex. 18 / P. 05
              Case 3:13-cv-01045-SI    Document 136-2     Filed 07/22/14   Page 47 of 59
    Submit a Complaint for WHOIS
    WHOIS Inaccuracy Complaint Form
    WHOIS Service Complaint Form

    WHOIS Compliance FAQs



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and further agree not to use this data (i) to allow, enable, or otherwise support the transmission by
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                                                                                        Ex. 18 / P. 06
    Case 3:13-cv-01045-SI   Document 136-2   Filed 07/22/14   Page 48 of 59




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                            Exhibit 19
Case 3:13-cv-01045-SI   Document 136-2   Filed 07/22/14   Page 49 of 59




                                                                      Ex. 19 / P. 01
            Case 3:13-cv-01045-SI   Document 136-2    Filed 07/22/14    Page 50 of 59

                    简体中文      English   Français   Русский    Español   ‫ﺍاﻟﻌﺭرﺑﻳﯾﺔ‬



              WHOIS BETA


     hindiporntube.org                               Lookup


Provide Feedback



   Showing results for: HINDIPORNTUBE.ORG
   Original Query: hindiporntube.org




     Contact Information
     Registrant Contact
     Name: WhoisProtectService.net PROTECTSERVICE, LTD.
     Organization:
     Mailing Address: 27 Old Gloucester Street, London WC1N 3AX GB
     Phone: +44.02074195061
     Ext:
     Fax:
     Fax Ext:
     Email:hindiporntube.org@whoisprotectservice.net

     Admin Contact
     Name: WhoisProtectService.net PROTECTSERVICE, LTD.
     Organization:
     Mailing Address: 27 Old Gloucester Street, London WC1N 3AX GB
     Phone: +44.02074195061
     Ext:
     Fax:
     Fax Ext:
     Email:hindiporntube.org@whoisprotectservice.net

     Tech Contact
     Name: WhoisProtectService.net PROTECTSERVICE, LTD.                              Ex. 19 / P. 02
      Case 3:13-cv-01045-SI     Document 136-2   Filed 07/22/14   Page 51 of 59
Organization:
Mailing Address: 27 Old Gloucester Street, London WC1N 3AX GB
Phone: +44.02074195061
Ext:
Fax:
Fax Ext:
Email:hindiporntube.org@whoisprotectservice.net




Registrar
WHOIS Server:
URL:
Registrar: EvoPlus Ltd. (R1823-LROR)
IANA ID: 1418
Abuse Contact Email:
Abuse Contact Phone:




Status
Domain Status:ok




Important Dates
Updated Date: 2014-07-16
Created Date:
Registration Expiration Date:




Name Servers
NS1.PUB-NS.COM
NS2.PUB-NS.COM

                                                                              Ex. 19 / P. 03
     Case 3:13-cv-01045-SI   Document 136-2   Filed 07/22/14   Page 52 of 59

Raw WHOIS Record

Domain Name:HINDIPORNTUBE.ORG
Domain ID: D169213282-LROR
Creation Date: 2013-07-16T09:38:02Z
Updated Date: 2014-07-16T09:41:13Z
Registry Expiry Date: 2015-07-16T09:38:02Z
Sponsoring Registrar:EvoPlus Ltd. (R1823-LROR)
Sponsoring Registrar IANA ID: 1418
WHOIS Server:
Referral URL:
Domain Status: ok
Registrant ID:MR_3697427WP
Registrant Name:WhoisProtectService.net PROTECTSERVICE,
LTD.
Registrant Organization:
Registrant Street: 27 Old Gloucester Street
Registrant City:London
Registrant State/Province:
Registrant Postal Code:WC1N 3AX
Registrant Country:GB
Registrant Phone:+44.02074195061
Registrant Phone Ext:
Registrant Fax:
Registrant Fax Ext:
Registrant Email:hindiporntube.org@whoisprotectservice.net
Admin ID:MR_3697427WP
Admin Name:WhoisProtectService.net PROTECTSERVICE, LTD.
Admin Organization:
Admin Street: 27 Old Gloucester Street
Admin City:London
Admin State/Province:
Admin Postal Code:WC1N 3AX
Admin Country:GB
Admin Phone:+44.02074195061
Admin Phone Ext:
Admin Fax:
Admin Fax Ext:
Admin Email:hindiporntube.org@whoisprotectservice.net
Tech ID:MR_3697427WP
Tech Name:WhoisProtectService.net PROTECTSERVICE, LTD.
Tech Organization:
Tech Street: 27 Old Gloucester Street
Tech City:London
Tech State/Province:
Tech Postal Code:WC1N 3AX
Tech Country:GB
Tech Phone:+44.02074195061
Tech Phone Ext:                                        Ex. 19 / P. 04
       Case 3:13-cv-01045-SI   Document 136-2   Filed 07/22/14   Page 53 of 59
  Tech Fax:
  Tech Fax Ext:
  Tech Email:hindiporntube.org@whoisprotectservice.net
  Name Server:NS1.PUB-NS.COM
  Name Server:NS2.PUB-NS.COM
  Name Server:
  Name Server:
  Name Server:
  Name Server:
  Name Server:
  Name Server:
  Name Server:
  Name Server:
  Name Server:
  Name Server:
  Name Server:
  DNSSEC:Unsigned

  Access to Public Interest Registry WHOIS information is
  provided to assist persons in determining the contents of a
  domain name registration record in the Public Interest
  Registry registry database. The data in this record is
  provided by Public Interest Registry for informational
  purposes only, and Public Interest Registry does not
  guarantee its accuracy. This service is intended only for
  query-based access. You agree that you will use this data
  only for lawful purposes and that, under no circumstances
  will you use this data to(a) allow, enable, or otherwise
  support the transmission by e-mail, telephone, or facsimile
  of mass unsolicited, commercial advertising or
  solicitations to entities other than the data recipient's
  own existing customers; or (b) enable high volume,
  automated, electronic processes that send queries or data
  to the systems of Registry Operator, a Registrar, or
  Afilias except as reasonably necessary to register domain
  names or modify existing registrations. All rights
  reserved. Public Interest Registry reserves the right to
  modify these terms at any time. By submitting this query,
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Submit a Complaint for WHOIS
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                                                                             Ex. 19 / P. 05
              Case 3:13-cv-01045-SI    Document 136-2     Filed 07/22/14   Page 54 of 59


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                                                                                        Ex. 19 / P. 06
    Case 3:13-cv-01045-SI   Document 136-2   Filed 07/22/14   Page 55 of 59




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                            Exhibit 20
Case 3:13-cv-01045-SI   Document 136-2   Filed 07/22/14   Page 56 of 59




                                                                      Ex. 20 / P. 01
           Case 3:13-cv-01045-SI   Document 136-2    Filed 07/22/14    Page 57 of 59

                   简体中文      English   Français   Русский    Español   ‫ﺍاﻟﻌﺭرﺑﻳﯾﺔ‬



             WHOIS BETA


     hotsexyporntube.com                            Lookup


Provide Feedback



   Showing results for: HOTSEXYPORNTUBE.COM
   Original Query: hotsexyporntube.com



     Raw WHOIS Record

     Domain Name: HOTSEXYPORNTUBE.COM

     Abuse email: abuse@ahnames.com

     Registrant:
         WhoisProtectService.net PROTECTSERVICE, LTD.
     hotsexyporntube.com@whoisprotectservice.net
         27 Old Gloucester Street
         London WC1N 3AX
         United Kingdom
         +44.02074195061

     Registered Through:
         AHnames.com http://www.AHnames.com/

     Administrative Contact:
         WhoisProtectService.net PROTECTSERVICE, LTD.
     hotsexyporntube.com@whoisprotectservice.net
         27 Old Gloucester Street
         London WC1N 3AX
         United Kingdom
         +44.02074195061

     Technical Contact:
         WhoisProtectService.net PROTECTSERVICE, LTD.
     hotsexyporntube.com@whoisprotectservice.net                                    Ex. 20 / P. 02
              Case 3:13-cv-01045-SI    Document 136-2     Filed 07/22/14   Page 58 of 59
             27 Old Gloucester Street
             London WC1N 3AX
             United Kingdom
             +44.02074195061

       Billing Contact:
           WhoisProtectService.net PROTECTSERVICE, LTD.
       hotsexyporntube.com@whoisprotectservice.net
           27 Old Gloucester Street
           London WC1N 3AX
           United Kingdom
           +44.02074195061

       Name Server: NS1.TOPDNS.ME
       Name Server: NS3.TOPDNS.ME
       Name Server: NS2.TOPDNS.ME

       Creation Date: 2013-04-11
       Expiration Date: 2015-04-11




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                                                                                        Ex. 20 / P. 03
          Case 3:13-cv-01045-SI   Document 136-2   Filed 07/22/14   Page 59 of 59
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                                                                                Ex. 20 / P. 04
